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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :        2:23-CR-00146-NR-1
                                               :
v.                                             :        Filed Electronically via ECF
                                               :
BRIAN DIPIPPA,                                 :
                                               :        HONORABLE JUDGE
                       DEFENDANT.              :        J. NICHOLAS RANJAN

                   MOTION TO REVEAL CONFIDENTIAL INFORMANT(S)

       AND NOW, comes the Defendant Brian Dipippa by and through his attorney, Michael J.

DeRiso, Esquire and the DeRiso Law Group who submit on his behalf this Motion To Reveal

Confidential Informant(s) and in support allege as follows:

                                           BACKGROUND

       Arising out of events alleged to have occurred on April 18, 2023 an Indictment was returned by

the Grand Jury charging Brian Dipippa with, at Count 1, Conspiracy, an alleged violation of 18 U.S.C.

371; at Count 2, Obstruction of Law Enforcement During Civil Disorder, an alleged violation of 18

U.S.C. 2 and 231(a)(3); and, at Count 3, Use of Explosive to Commit Federal Felony, an alleged

violation of 18 U.S.C. 844(h)(1).

                  I. MOTION TO REVEAL CONFIDENTIAL INFORMANT(S)

     THIS COURT SHOULD ORDER THE GOVERNMENT TO REVEAL THE IDENTITY
       OF THE CONFIDENTIAL INFORMANT(S) AND TO DISCLOSE TO DEFENSE
     COUNSEL OTHER PERTINENT INFORMATION REGARDING THE INFORMANT

         It is well established that an informant's identity must be disclosed when an informant's

 testimony is "relevant and helpful to the defense of an accused." Roviaro v. United States, 353

 U.S. 53, 60-61 (1957). Roviaro established no fixed rule with respect to the disclosure of a

 confidential informant.     See id. at 62.        Rather, a trial court must weigh the "particular

 circumstances" of the case at hand, including the crime charged, the existence of possible defenses

 to the crime charged, and the potential significance of the informant's testimony. Id.
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A.     If the Informant Was a Percipient Witnesses to, or Actively Participated in, the
       Negotiations and Transactions Leading to the Commission of the Alleged Crime, the
       Identity of the Informant Must Be Revealed.

        In this case, the testimony of any informant is vital to the defense. The informant in this

case may have information relevant to the issues of entrapment, imperfect entrapment, and

sentencing entrapment. An informant's testimony is vital even if the government chooses not to

call him as a witness, since the defense may subpoena the informant to present its case-in-chief.

See Lopez-Hernandez v. United States, 394 F.2d 820, 821 (9th Cir. 1968); see also

Velarde-Villarreal v. United States, 354 F.2d 9, 15 (9th Cir. 1965) (Ely, J., concurring and

dissenting) (concluding that disclosure of the informant would have permitted defense counsel to

raise the defense of entrapment and that the trial court's failure to order disclosure constituted

error). Therefore, this Court should order the government to disclose any informant's identity.

B.     The Government Must Produce the Confidential Informant Prior to Trial for Defense
       Counsel's Interview of the Informant

       The government's obligation is not fully satisfied by merely disclosing the identity and

location of the confidential informant[s]. Rather, Mr. DiPippa specifically requests that the

government produce the confidential informants, if any, prior to trial. The government "must use

reasonable efforts to produce a government informant whose presence has been properly requested by

the defendant." United States v. Hart, 546 F.2d 798, 799 (9th Cir. 1976). The Government

must demonstrate that it used reasonable efforts to produce the informant. See United States v.

Montgomery, 998 F.2d 1468, 1473 (9th Cir. 1993).
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       Mr. DiPippa respectfully requests that the Court permit defense counsel to question the

informant(s) before trial. Mr. D i P i p p a does not know the full name of any confidential

informant or his or her location. However, if the Government intends to call any confidential

informant(s), this Court should permit full disclosure of the identity and location of any

informant so that defense counsel may interview said informant and thus conduct a full

investigation of his credibility and his background. See United States v. Hernandez, 608 F.2d

741, 744 (9th Cir. 1979).

       In Callahan v. U.S., 371 F.2d 658 (9th Cir. 1967), the court held that both the

defense and the prosecution had the right to interview witnesses before trial. It is beyond dispute

that witnesses to a crime are the property of neither the prosecution nor the defense, and that

both sides share an equal right and equal opportunity to interview them.

       For the reasons cited above, it is clear that any informant(s) in this case is a material

witness. The government is required to disclose the identity of all material witnesses, provide

the witness' current and previous addresses, and make them available for the preparation of the

defense.

C.     In Camera Hearing.

       The Court has considerable discretion in deciding whether an in camera hearing is

necessary in determining when the government must release any informant's name

and whereabouts to the defense. See, e.g., United States v. Ordonez, 722 F.2d 530, 540-41

(9th Cir.1983); see also United States v. Rawlinson, 487 F.2d 5, 7-8 (9th Cir. 1973).   The

Rawlinson court held that an in camera hearing was an appropriate means for determining

whether the informant's identity and testimony would be relevant and helpful to the defense.

      The in camera hearing is a” favored procedure,” triggered by a “'minimal threshold

showing' that disclosure would be relevant to at least one defense." United States v. Spires, 3
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F.3d 1234, 1238 (9th Cir. 1993); see also United States v. Henderson, 241 F.3d 638, 645 (9th

Cir. 2000). While the court in United States v. Anderson refused to establish a fixed rule that

requires disclosure of an informant's identity when probable cause is at issue, it did approve

the holding of an in camera hearing to which the defense counsel, but not the defendant, is

admitted. 509 F.2d 724, 729-30 (9th Cir. 1974).

      In Ordonez, the court stated that "[t]o insure that the informer is subjected to a vigorous

or searching examination, some trial courts have permitted the defense counsel to submit a set

of questions to be propounded by the court." Ordonez, 722 F.2d at 541 (internal citations

omitted). The court held that the "procedure selected by the trial court should provide a substantial

equivalent to the rights available to a criminal defendant under the fifth and sixth

amendment[s]." Id. at

540-41.

          Thus, the identity of any informant should be revealed well in advance of trial, or in the

alternative, this Court should conduct an in camera hearing and allow defense counsel

to participate in order to determine whether the informant's testimony is helpful and material to

the defense.

      Mr. DiPippa requests the opportunity to interview the government informant

sufficiently in advance of trial so that any further investigation that may be necessary may be

accomplished without interrupting the trial itself.

D.        Mr. DiPippa Is Entitled to Information Regarding Any Confidential Informant.

          With respect to any informant or witness named in the discovery, and as to any

other informer not yet made known to the defense, Mr. DiPippa requests disclosure of all

potential impeachment information. See U.S. v. Bernal-Obeso, 989 F.2d 331, 335 (9th

Cir. 1993).
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               Accordingly, Mr. DiPippa requests the following information: ( i ) Any and all

 records and information revealing prior felony convictions, convictions for a crime involving false

 statements or dishonesty, or juvenile adjudications attributed to the informant, including but not

 limited to, relevant "rap sheets." See United States v. Alvarez-Lopez, 559 F.2d 1155 (9th Cir.

 1977); see also United States v. Henthorn, 931 F.2d 29, 30 (9th Cir. 1991); Fed. R. Evid. 609. (ii)

 Any and all records and information revealing prior misconduct or bad acts attributed to the

 informant, including, but not limited to, any attributable acts of misconduct. Fed. R. Evid.

 608(b); Weinstein's Evidence ¶ 608[5] at 608-25 (1976). (iii) Any and all consideration or

 promises of consideration given to the informant or expected or hoped for by them. By

 "consideration," Mr. D i P i p p a refers to absolutely anything, whether bargained for or not,

 which arguably could be of value or use to them or to persons of concern to them. This request

 includes but is not limited to formal or informal and direct or indirect leniency, favorable treatment

 or recommendations, or other assistance with respect to any pending or potential criminal, parole,

 probation, pardon, clemency, civil, tax court, Internal Revenue Service, Court of Claims,

 administrative, or other dispute with the United States. See, e.g., Territory of Guam v. Dela Rosa,

 644 F.2d 1257, 1259-60 (9th Cir. 1980) (citing error in failure to give instruction regarding

 credibility of witness' testimony secured by promise not to prosecute in exchange for cooperation);

 see also United States v. Holmes, 229 F.3d 782, 786 (9th

 Cir. 2000).

       "Consideration" also encompasses any favorable treatment or recommendations with

respect to criminal, civil or tax immunity grants, relief from forfeiture, payments of money,

permission to keep fruits of criminal activity including cash, vehicles, aircraft, rewards or fees,

witness fees and special witness fees, provisions of food, clothing, shelter, transportation, legal

services or other benefits, placement in a "witness protection program," and anything else that
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arguably could reveal an interest, motive, or bias in them in favor of the government or against

the defense, or which could act as an inducement to testify or to color testimony. See U.S.

 v. Thomas, 766 F. Supp 372 (W.D. Pa. 1991). Failure to produce such evidence is material in

 that it would affect the trial outcome. See United States v. Bagley, 473 U.S. 667, 676-77 (1985);

 see also United States v. Shaffer, 789 F.2d 682, 688 (9th Cir. 1986); United States v. Mayer, 556

 F.2d 245, 248 (5th Cir. 1977); United States v. Garza, 574 F.2d 298, 301-02 (5th Cir. 1978); cf.

 Holmes, 229 F.3d at 786 (holding that jury instruction to view informant's testimony with caution

 is warranted whenever a witness receives benefits for providing information to the government);

 Dela Rosa, 644 F.2d at 1260 (same). (iv) Any and all threats, express or implied, direct or

 indirect, or other coercion made or directed against the informant, criminal prosecutions,

 investigations, or potential prosecutions pending, or which could be brought against them; any

 probationary, parole, deferred prosecution, or custodial status of the witness and any civil, tax

 court, court of claims, administrative, or other pending or potential legal disputes or transactions

 with the government or over which the government has a real, apparent, or perceived influence.

 See Davis v. Alaska, 415 U.S. 308, 317-18 (1974); see also United States v. Alvarez-Lopez, 559

 F.2d 1155, 1158-59 (9th Cir. 1977); United States v. Sutton, 542 F.2d 1239, 1241-42 (4th Cir.

 1976). (v) The existence and identification of each occasion on which the informant has testified

 before the court, grand jury, or other tribunal or body in connection with this or other similar cases.

 See Johnson v. Brewer, 521 F.2d 556, 562-63 (8th Cir. 1975). (vi) Any and all records and

 information which arguably could be helpful or useful to the defense in impeaching or otherwise

 detracting from the probative force of the government's evidence or which arguably could lead to

 such records or such information.
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This request includes any evidence tending to show the narcotic habits of the informant at the

time of relevant events. See, e.g., United States v. Bernard, 625 F.2d 854, 858-59 (9th Cir. 1980);

see Dela Rosa, 644 F.2d at 1260. This request also includes any evidence indicating the

informant's personal dislike or hostility toward the defendant. See United States v. Weiss, 930

F.2d 185, 197 (2d Cir. 1991); see also United States v. Haggett, 438 F.2d 396 (2d Cir. 1971).

(vii) The names and criminal numbers of any and all other criminal cases, state or federal, in

which the informant has been involved either as an informant or defendant. Any prior criminal

conduct on the part of the informant either as an informant or defendant is relevant in establishing a

possible defense of entrapment. (viii) The informant's current and past addresses for the five

years preceding defendant's arrest. See United States v. Hernandez, 608 F.2d 741, 745 (9th

Cir.1979).

        Mr. DiPippa makes these multiple requests because, in order to properly prepare a

defense in this matter, it is important that the defense be aware of all information related to the

informant's credibility and background. See Giglio v. United States, 405 U.S. 150 (1972); see

also United States v. Ray, 731 F.2d 1361, 1364 (9th Cir. 1984).

        Cross-examination of any confidential informant may be a critical part of Mr.

DiPippa's defense, or his sentencing. This cross-examination must be complete and thorough in

order to protect Mr. DiPippa's rights.     See Washington v. Texas, 388 U.S. 14 (1967).               In

order to properly cross-examine the informant, the defense must be aware of all information

relating to the informant's credibility, including any biases, prejudices or motives, as well as the

substantive evidence in the informant's possession regarding entrapment, imperfect entrapment, or

sentencing entrapment. The inherent unreliability of the testimony of accomplices and

government informants underscores the need for complete disclosure of information relating to their

credibility.
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 Accordingly, for all of the foregoing reasons, your Court should issue an Order granting this motion

 and requiring the Government to identify any confidential informant(s) and provide the information

 requested regarding each in numerals. i-vii above.

       WHEREFORE, it is respectfully requested that the Court issue an Order granting this motion

 and requiring the Government to identify any confidential informant(s) and provide the information

 requested regarding each in numerals. i-vii in said motion.

                                               Respectfully submitted,


                                               /s/ Michael J. DeRiso
                                               ________________________________
                                               MICHAEL J. DeRISO, ESQUIRE
                                               Pa. Supreme Court Id. No.: 76555
                                               Counsel for Defendant, Brian DiPippa
February 1, 2024
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                              CERTIFICATE OF SERVICE

        I, Michael J. DeRiso, hereby certify that on February 1, 2024, a copy of the foregoing

 was filed electronically with the Clerk of Courts for the United States District Court for the

 Western District of Pennsylvania.

                                             Respectfully submitted,

                                             /S/ Michael J. DeRiso
                                             _______________________________
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